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Willet Davidson # 21-A-0603
Plaintiff Pro-Se 22 SEP $2 PH 2:4?
Great Meadow Correctional Facility
11739 State Route 22, P.O. Box 51
COMSIOK, New York 12821-0051
Septatber 2, 2022

Hon. Stewart D. Aaron

United States District Court
Sourthern District of New York
500 Pearl Street

New York, New York 10007

Re: Davidson v. Pasty Yang, et al.
20-CV-09500

Dear Judge Aaron:

‘The Assistant Corporatior: Comsel was assigns] to defend the defendants respectfully requested

an extension of time to file and serve motion for summary jucemeny pursuant to rule 56 by two(2) weeks,
extend the deadline fron March 31, 2022 to April 14, 2022.

Discovery closed on Noverber 17, 2021 (See DAT No. 40), and on Noverber 29, 2021, the Court
directed the defendants to file their anticipated motion by Jaruary 14, 2022, with plaintiff to file
opposition by February 14, 2022, with defendants to file their reply by February 28, 2022 (See DKT. # 42).

The defendant's requested ther first extension of time to move for summary judgment, due to
inter-alia facts, medical and childcare unexpected experience to move for summary judgment, defendant's
requested, due to departure of Mr. Krist's Corporation Counsel, reassignment to the undersigned granted
by court, February 11, 2022.

Since, Wynee Ngo, assignment, Assistant CorporaTION Counsel, familiarize hereself with
voluminous discovery, exchanged and draft defendants motion for summary judgment, motion include
declaration for hoth DOC & H#H, to demondtrate: effort to combat effects of Covid—19
virus on those held to trial etc. requesting additional necessary
time to organize in in information for the discovery, defendants
intended to submit in their supported motion for summary judgment
Further requested two (2) weeks deadline to serve and file summary
judgment motion from Marcch 31, 2022 to April 14, 2022;respect-
fully requesting corresponding extension of the deadline, with
plaintiff's opposition due by May 16, 2022 and defendants reply
due May 20, 2022. Defendants acknowledge this being their thirdrequest.
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The plaintiff has demonstrated understanding, patience and agreement to
all the defendants requests in the past months, to no avail. However, in the
proceeding months, presently September 2nd, 2022, plaintiff remain in absence
of summary judgment motion from the defendants, pursuant to rule 56, and feel

that the defendant are abusing their privilege, courtesies and responsibilities,

The plaintiff is incarcerated and is proceeding pro-se surrounding a
sensitive timely nature. The case is prescribed infact as stagnated and cover-
over by red-tape, and the defendants must be held liable in the discharge of
their duties to file and serve their motion for summary judgment without
hestation, arguement or umexcusable justification. Their holding position
because their are unable to prove anyone set of facts which would entitle them

to prevail summary judgment motion, pursuant to Rule 56, Fed. R. Civ. P.

Plaintiff and defendants have moved for summary judgment pursuant to
Rule 56, Fed, R. Civ. P. and summary judgment is appropriate only if the moving
party can "show that there is no genuine issues as to any meterial facts and
that the moving party is entitled to a judgment as a matter of law." Fed. R. Civ.
P. Section 56(c).

As a general rule, all ambiguities and reference to be drawn from the

underlying facts should be resolve in favor of the party opposing the motion,
and all doubts as to the exitence of a genuine issue for trial should be resolved
against the moving party.'' Brinder v. Long Island Lighting Co., 933 F. 2d 187,

(2d. Cir. 1991) (quoting) Brady v. Town of Colchester, 863 F. 2d. 205, 210 (24. Cir. 1988))
However, a party opposing a properly supporting motion for summery judgment may not rest upon mere
allegations but must set forth facts showing that there is genuine issues for trial. Fed. R, Civ. P.
Section 56(e) «

 

Based on the above, the court must direct the defendants to corply with order to file and
serve summary judgment motion without further subdue.

I thank you in advance for your time and cooperation.

Respec' hep.
cc: Wyree Nipo, Asst. Corp. Counsel '
‘The City of New York, Law Dept. \ SUE \
100 Ghruch Street, NY, NY. 10007

(646) 984-4115 / Vinedtlaw,ny.20v willet ble
 

 

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